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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                  :
                                          :
              v.                          :      CRIMINAL NO. 21-cr-399 (RDM)
                                          :
ROMAN STERLINGOV,                         :
                                          :
                      Defendant.          :

                                         ORDER

       Upon consideration of the Government’s Motion To Quash Defense Subpoena to the

Government Prosecutor, it is hereby,

       ORDERED, that the Defendant’s subpoena dated March 8, 2023 to Catherine Alden Pelker

shall be quashed.

Dated this ______ day of May, 2023.




                                                 RANDOLPH D. MOSS
                                                 UNITED STATES DISTRICT JUDGE
